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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA

                                               )
 WILLIAM MADDEN, individually                  ) Case No. 0:23-cv-02670-WMW-DJF
 and on behalf of all others similarly         )
 situated,                                     )
                                               )   PROPOSED ORDER GRANTING
                       Plaintiff,              )     PLAINTIFF’S MOTION FOR
                                               )     LIMITED JURISDICITONAL
 v.                                            ) DISCOVERY AND TO EXTEND THE
                                               )      DEADLINE TO AMEND HIS
 RADIUS GLOBAL SOLUTIONS                       )              COMPLAINT
 LLC,                                          )
                                               )
                       Defendant.              )
                                               )

         This matter comes before the Court on Plaintiff’s Motion for Limited Jurisdictional

Discovery and to Extend the Deadline to Amend His Complaint (Doc. No. 7). Based upon

all files, records, and proceedings herein:

         IT IS ORDERED that Plaintiff William Madden is allowed to take limited

discovery from Defendant to determine: (1) the citizenship of the members and any sub-

members of Defendant; and (2) the states to which Defendant sent notice to individuals of

the data breach.

         IT IS FURTHER ORDERED that the deadline to file an amended complaint is

extended to October 26, 2023.



Dated:
                                              Hon. Dulce J. Foster
                                              United States District Court Magistrate Judge
